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                EXHIBIT 6
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                                ETHICAL SCREEN LANGUAGE (Final 9/24/2014)

John Quinn, John Gordon, and Jeremy Andersen are Partners in our Los Angeles Office, and
Noah Helpern and Jack Baumann are Associates in our Los Angeles Office. Messrs. Quinn,
Gordon, Andersen, Helpern, and Baumann are currently or will be advising a client in a
confidential matter adverse to Microsoft Corporation (“the Confidential Matter”). Based on our
conflicts research, the Firm is currently adverse to Microsoft Corporation in the following other
matters (collectively, “Microsoft Matters”):

Text                                Status    Client Name               Matter Name

Microsoft Corp and MSFT                       Off. Comm. Unsec. Creds
Licensing, GP                        Open     Lehman Bros Hdng, Inc.    Lehman Creditors' Committee
Microsoft                            Open     Google Inc.               Microsoft v. Motorola/Google
Microsoft                            Open     Motorola, Inc.            Microsoft v. Motorola (ITC-744 Action)
                                    ClosedP
Microsoft                             dng     Yahoo! Inc.               MasterObjects, Inc. v. Yahoo!, Inc.
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EP'654 (Deluca)
Microsoft                            Open     Google Inc.               Microsoft v. CBP and Motorola Mobility
Microsoft Deutschland GmbH           Open     Google Inc.               Google re Motorola / Microsoft - EP'667 (Krause)
Microsoft Deutschland GmbH           Open     Google Inc.               Google re Motorola / Microsoft - EP'654 (Deluca)
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EP'384 (Wu)
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EP'667 (Krause)
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft -EP'521 (Guzik)
Microsoft Ireland Operations Ltd.    Open     Google Inc.               Google re Motorola / Microsoft - EP'384 (Wu)
Microsoft Deutschland GmbH           Open     Google Inc.               Google re Motorola / Microsoft -EP'521 (Guzik)
Microsoft Deutschland GmbH           Open     Google Inc.               Google re Motorola / Microsoft - Escalation
Microsoft                            Open     Google Inc.               Google / Microsoft re Antitrust
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EP'891 (Shen)
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - Escalation
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EP'124
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EP'406
Microsoft Deutschland GmbH           Open     Google Inc.               Google re Motorola / Microsoft - EP'384 (Wu)
Microsoft Ireland Operations Ltd.    Open     Google Inc.               Google re Motorola / Microsoft - EP'667 (Krause)
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EP'343
Microsoft Ireland Operations Ltd.    Open     Google Inc.               Google re Motorola / Microsoft - Escalation
                                                                        Google re Motorola / Microsoft - EP'540
Microsoft                            Open     Google Inc.               (Reynolds)
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EP'328 (Seaman)
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EP'225
Microsoft Deutschland GmbH           Open     Google Inc.               Google re Motorola / Microsoft - EC Investigation
Microsoft Ireland Operations Ltd.    Open     Google Inc.               Google re Motorola / Microsoft - EP'654 (Deluca)
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EP'956 (Padaver)
Microsoft Ireland Operations Ltd.    Open     Google Inc.               Google re Motorola / Microsoft - EC Investigation
Microsoft                            Open     Google Inc.               Google re Motorola / Microsoft - EC Investigation
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Microsoft                       Open    Google Inc.            Google re Microsoft / Apple - EP'336 (Cudak)
Microsoft                       Open    Google Inc.            Google re Motorola / Microsoft - EP'021 (Jain)
Microsoft                       Open    Google Inc.            Microsoft v. Motorola



Although the work that has been or will be performed by Messrs. Quinn, Gordon, Andersen,
Helpern, and Baumann in connection with the Confidential Matter is not substantially related to
the Microsoft Matters, out of an abundance of caution, and to avoid any potential conflict and
any possible appearance of impropriety, the Firm has implemented ethical screening procedures
to ensure that: (a) Messrs. Quinn, Gordon, Andersen, Helpern, and Baumann are walled off
from any confidential information and documents arising out of, or otherwise related to,
Microsoft Matters; and (b) that Firm personnel other than Messrs. Quinn, Gordon, Andersen,
Helpern, and Baumann (and non-attorney staff who receive security clearance to assist on the
Confidential Matter after passing background investigations) are walled off from any
confidential information and documents arising out of, or otherwise related to, the Confidential
Matter. (The restrictions set forth herein on access to “confidential” information and documents
are not intended to prevent consultation on billing, staffing, travel, or other non-substantive
logistical issues or on publicly available information or documents.) The following procedures
must be followed by all attorneys and staff of Quinn Emanuel:

1.      All personnel are instructed not to discuss or share with Messrs. Quinn, Gordon,
Andersen, Helpern, and Baumann any confidential information or materials that relate in any
way to Microsoft Matters. In addition, all non-attorney staff assisting on the Confidential Matter
shall not use in connection with the Confidential Matter any confidential information or
materials that relate in any way to Microsoft Matters.

2.     Messrs. Quinn, Gordon, Andersen, Helpern, and Baumann have been instructed not to
discuss with anyone in the Firm any confidential information or materials that relate in any way
to Microsoft Matters.

3.      Messrs. Quinn, Gordon, Andersen, Helpern, and Baumann have been instructed not to
seek any confidential information or materials in the Firm’s possession concerning Microsoft
Matters. In addition, all non-attorney staff assisting on the Confidential Matter are instructed not
to seek for use or use in connection with the Confidential Matter any confidential information or
materials that relate in any way to Microsoft Matters.

4.      All personnel (except for non-attorney staff who have received security clearance to
assist on the Confidential Matter after passing background investigations) are instructed not to
seek to obtain, directly or indirectly, any information from Messrs. Quinn, Gordon, Andersen,
Helpern, and Baumann concerning the Confidential Matter.

5.      No Firm personnel other than Messrs. Quinn, Gordon, Andersen, Helpern, and Baumann
(and other personnel who have received security clearance to assist on the Confidential Matter
after passing background investigations) shall be provided access to any non-publicly available
materials related to the Confidential Matter.
